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                                                                                  NOTE: CHANGE MADE BY THE
                                                                                  COURT




  10
  11                                 UNITED STATES DISTRICT COURT
  12                               CENTRAL DISTRICT OF CALIFORNIA
  13
  14   UNITED STATES OF AMERICA ex                                    Case No. 2:17-cv-04393-RGK-
       rel. ISLAND INDUSTRIES, INC.,                                  KS
  15
                            Plaintiffs,                               ORDER GRANTING
  16                                                                  SIGMA CORPORATION’S
              v.                                                      MOTION TO APPROVE
  17                                                                  SUPERSEDEAS BOND AND
       VANDEWATER INTERNATIONAL                                       STAY EXECUTION OF
  18   INC., et al.,                                                  JUDGMENT [455]
  19                        Defendants.
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  24          The Court, having read and considered Defendant Sigma Corporation’s
  25    (“Sigma’s”) Motion to Approve Supersedeas Bond and Stay Execution of Judgment
  26    and the associated papers, and good cause appearing therefor, makes the following
  27    Order:
  28

                   ORDER GRANTING SIGMA CORPORATION’S MOTION TO APPROVE SUPERSEDEAS BOND AND STAY EXECUTION OF JUDGMENT
                                                                                               (Case No 2:17-cv-04393-RGK-KS)
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    1
                 The Motion to Approve Supersedeas Bond and Stay Execution of Judgment
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        is hereby GRANTED. The Court approves the supersedeas bond in the amount of
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        $30 million, with surety United States Fire Insurance Company, and stays
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        execution of the judgment pending Sigma’s appeal to the United States Court of
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        Appeals for the Ninth Circuit, pursuant to Rule 62(b) of the Federal Rules of
    6
        Civil Procedure. 6LJPD VKDOO ORGJH WKH ERQG ZLWK WKH &RXUW E\ 0D\  
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    8 IT IS SO ORDERED.
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        Dated:       May 5, 2022
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                                                                 Hon. R. Gary Klausner
   12                                                            United States District Judge
   13
   14   cc: FISCAL

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                                                                -2-
                   ORDER GRANTING SIGMA CORPORATION’S MOTION TO APPROVE SUPERSEDEAS BOND AND STAY EXECUTION OF JUDGMENT
                                                                                               (Case No 2:17-cv-04393-RGK-KS)
